                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE



  ANDREW JOSTEN LOVINGOOD,

               Plaintiff,
  v.
                                                                  No. 3:19-cv-00009
  BILL JOHNSON, DERRICK GRAVES;

               Defendants.


               MEMORANDUM IN SUPPORT OF MOTION IN LIMINE NO. 4

        This case was originally filed by attorney John Eldridge April 9, 2015. Judge Poplin

  was then the Clerk of Court. Attorney Eldridge voluntarily dismissed the case without

  prejudice.

        In the interim, Mr. Lovingood sought to impose criminal liability upon this Defendant

  and the same was rejected by a jury in the Circuit Court for Monroe County, Tennessee

  and this Defendant was acquitted of all charges.

        Nevertheless, Plaintiff refiled a federal district court civil action January 5, 2019.

        The Scheduling Order entered May 26, 2020 20 [Doc. 22] required Plaintiff to

  submit expert disclosures on or before August 3, 2020, some six years after the alleged

  incident. He never has.

        Federal Rule of Civil Procedure 26 is specific. Plaintiff cannot submit any form of

  evidence at trial which requires or must be supported by expert testimony.(emphasis

  added)




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         Testimony regarding Plaintiff’s alleged medical/mental condition falls within the

  realm of expert opinion and the appropriate disclosures pursuant to Fed. Rule Civ. Pro.

  26 should have been made. They have not. Accordingly, this Defendant respectfully

  requests that Motion in Limine 4 be granted.

         RESPECTFULLY SUBMITTED this 15th day of November, 2021.


                                                     s/ Arthur F. Knight, III
                                                     Arthur F. Knight, III, BPR #016178
                                                     TAYLOR & KNIGHT, P.C.
                                                     800 South Gay Street, Suite 600
                                                     Knoxville, TN 37929
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 15, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.


                                              s/Arthur F. Knight, III
                                              Arthur F. Knight, III




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